Case 2:90-cr-00304-SRC            Document 17       Filed 04/18/08       Page 1 of 4 PageID: 228




NOT FOR PUBLICATION

                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

____________________________________
                                    :
RICKEY DANZEY,                      :
                                    :
                  Petitioner,       :
                                    :                  Crim. A. No. 90-0304 (SRC)
v.                                  :
                                    :                  OPINION & ORDER
UNITED STATES OF AMERICA,           :
                                    :
                  Respondent.       :
____________________________________:


Chesler, U.S.D.J.

         This matter comes before the Court on the motion for a reduction in sentence pursuant to

18 U.S.C. § 3582(c)(2) filed by pro se Petitioner Rickey Danzey. [Docket item 13]. The

government filed written opposition to the motion. [Docket item 15]. The Court has considered

the papers filed in support of and in opposition to the motion, and for the reasons discussed

below, the Court denies Petitioner’s motion for reduction in sentence.



I. Background

         On April 2, 1991, Petitioner pled guilty to charges of conspiracy to distribute and

possession with intent to distribute more than 100 grams of heroine. In his plea agreement,

Petitioner stipulated that the amount of heroine involved in the offense was between 100 and 400

grams.

         Petitioner appeared for sentencing on March 31, 1992. At the hearing, Petitioner also
Case 2:90-cr-00304-SRC           Document 17            Filed 04/18/08   Page 2 of 4 PageID: 229




plead guilty to possession with the intent to distribute more than 500 grams of cocaine, a charge

which had been pending against Petitioner in the United States District Court for the Southern

District of New York. Petitioner admitted to possession of 2.1 kilograms of cocaine.

       Pursuant to the sentencing guidelines, Judge Lifland combined the drug quantities from

the New Jersey and New York drug charges. Judge Lifland sentenced Petitioner as a career

offender and ordered that he serve 240 months for each charge, concurrently.

       Petitioner appealed arguing, in part, that the district court erred in finding that he was

criminally responsible for 400 to 700 grams of heroin. The Third Circuit affirmed Petitioner’s

conviction and sentence. United States v. Danzey, 14 F.3d 49 (3d Cir. 1993). Petitioner then

filed a petition for a writ of certiorari, which the Supreme Court denied. Danzey v. United

States, 511 U.S. 1020 (1994).

       On May 1, 2001, Petitioner filed a petition for relief pursuant to 28 U.S.C. § 2255,

claiming that the sentence was unconstitutional in light of Apprendi v. New Jersey, 530 U.S. 466

(2000). The government moved to dismiss the petition. On June 25, 2003, Judge Lifland

dismissed the petition, and held that no certificate of appealability would issue. Petitioner then

applied to the Third Circuit for a certificate of appealability, which the court denied on December

15, 2003. Petitioner also sought leave to file a second or successive petition pursuant to 28

U.S.C. § 2255., which the Third Circuit denied on December 20, 2006.

       On February 8, 2007, Petitioner filed this motion for reduction in sentence. On December

31, 2007, Petitioner completed his sentence of incarceration and was released. Petitioner is

currently serving a term of supervised release.




                                                  -2-
Case 2:90-cr-00304-SRC          Document 17          Filed 04/18/08   Page 3 of 4 PageID: 230




II. Discussion

       Petitioner argues that his sentence should be reduced pursuant to 18 U.S.C. § 3582(c)(2)

because the Supreme Court’s holding in United States v. Booker, 543 U.S. 220 (2005),

“lowered his career offender guidelines range by allowing the judge the discretion to impose a

lower sentence without regard[] to the ‘now advisory’ guideline range.” The government

opposes, arguing that 18 U.S.C. § 3582(c)(2) does not apply in this case.

       18 U.S.C. § 3582(c)(2) provides that:

             The court may not modify a term of imprisonment once it has been
       imposed except that--
             ....

               (2) in the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been lowered by
       the Sentencing Commission pursuant to 28 U.S.C. 994(o), upon motion of the
       defendant or the Director of the Bureau of Prisons, or on its own motion, the court
       may reduce the term of imprisonment, after considering the factors set forth in
       section 3553(a) to the extent that they are applicable, if such a reduction is
       consistent with applicable policy statements issued by the Sentencing
       Commission.

(Emphasis added).

       As noted in the government’s brief, the statute expressly applies only when the

Sentencing Commission lowers the applicable sentencing range. The statute further requires that

the reduction be consistent with the Sentencing Commission’s policy statements. Because the

Sentencing Commission has not altered the guidelines relevant to Petitioner’s sentence, the Court

“may not modify” Petitioner’s term of imprisonment. Id.

       To the extent Petitioner seeks to argue that Booker modified the requirements set forth in

18 U.S.C. § 3582(c)(2), the Court notes that the Third Circuit does not agree:



                                               -3-
Case 2:90-cr-00304-SRC          Document 17          Filed 04/18/08   Page 4 of 4 PageID: 231




       Some may argue that, because the Guidelines are no longer mandatory, defendants
       need not wait [for a modification to the guidelines by the Sentencing
       Commission] to apply for relief under § 3582(c)(2). That fundamentally
       misunderstands the limits of Booker. Nothing in that decision purported to
       obviate the congressional directive on whether a sentence could be reduced based
       on subsequent changes in the Guidelines. As we have stated before, “[t]he
       language of the applicable sections could not be clearer: the statute directs the
       Court to the policy statement, and the policy statement[, U.S.S.G. § 1B1.10(c),]
       provides that an amendment not listed in subsection (c) may not be applied
       retroactively pursuant to 18 U.S.C. § 3582(c)(2).”

United States v. Wise, 515 F.3d 207, 221 n. 11 (3d Cir. 2008) (quoting United States v.

Thompson, 70 F.3d 279, 281 (3d Cir.1995)). The holding in Wise makes clear that 18 U.S.C. §

3582(c)(2) authorizes a court to reduce a sentence only when the Sentencing Commission has

lowered the applicable guideline range and included the amendment in the list set forth at

U.S.S.G. § 1B1.10(c). Id. That is not the case here.

       The Sentencing Commission has not lowered the guideline range relevant to the crimes

for which Petitioner was convicted, nor are such amendments included in the list provided at

U.S.S.G. § 1B1.10(c). Accordingly, 18 U.S.C. § 3582(c)(2) provides the Court no authority to

reduce Petitioner’s sentence. Therefore,

       IT IS on this 18th day of April 2008,

       ORDERED that Petitioner’s motion for a reduction in sentence is denied. [Docket item

13].

                                                         s/ Stanley R. Chesler
                                                       STANLEY R. CHESLER,
                                                       UNITED STATES DISTRICT JUDGE




                                               -4-
